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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                             LAFAYETTE DIVISION

 Jared Hebert, et al.                          Civil Action No. 21-3565

 versus                                        Judge S. Maurice Hicks, Jr.

 Flowers Foods, Inc., et al.                   Magistrate Judge Carol B. Whitehurst

                        JURISDICTIONAL REVIEW FINDINGS

          The record shall reflect that this Court has reviewed the pleadings to

 determine whether the requirements for federal question jurisdiction have been

 satisfied. The undersigned finds that the pleadings present claims arising under

 the Fair Labor Standards Act, 29 U.S.C. 201, et seq., and therefore, the claims arise

 under the Court’s federal question jurisdiction.

          Thus done and signed this 9th day of May, 2022.
